         Case 1:21-cv-05188-PAE-SLC Document 11 Filed 11/03/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JENISA ANGELES, on behalf of herself and all others
similarly situated,

                              Plaintiff,
                                                           CIVIL ACTION NO.: 21 Civ. 5188 (PAE) (SLC)
         -v-
                                                                             ORDER
BENNETEK ECOMMERCE COMPANY,

                              Defendant.



SARAH L. CAVE, United States Magistrate Judge.

         On September 15, 2021, at the parties’ request, the Court stayed all case deadlines to

permit the parties to finalize a settlement. (ECF No. 10 (the “September 15 Order”)). The Court

directed the parties to file a stipulation of dismissal or joint status report on their settlement

efforts by November 1, 2021. (Id.) To date, the parties have neither complied with the

September 15 Order nor requested an extension of the now-lapsed deadline to do so.

Nonetheless, the Court sua sponte extends this deadline, and directs the parties to file a

stipulation of dismissal or joint status report on their settlement efforts by November 5, 2021.


Dated:          New York, New York
                November 3, 2021

                                                      SO ORDERED.



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge
